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                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF DELAWARE


         In re                                                            Chapter 11

         Open Road Films, LLC,                                            Case No.: 18-12012 (___)

                                      Debtor. 1

         In re                                                            Chapter 11

         Open Road Releasing, LLC,                                        Case No.: 18-12013 (___)

                                      Debtor.

         In re                                                            Chapter 11

         OR Productions LLC,                                              Case No.: 18-12014 (___)

                                      Debtor.

         In re                                                            Chapter 11

         Briarcliff LLC,                                                  Case No.: 18-12015 (___)

                                      Debtor.

         In re                                                            Chapter 11

         Open Road International LLC,                                     Case No.: 18-12016 (___)

                                      Debtor.

         In re                                                            Chapter 11

         Empire Productions LLC,                                          Case No.: 18-12017 (___)

                                      Debtor.

         1
                The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
                (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
                LLC (9375-Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.
                Additional affiliated entities, including, but not limited to, IM Global LLC, Global Road Entertainment
                Television LLC (f/k/a IM Global TV LLC), Tang Media Partners LLC, and Global Road Entertainment LLC,
                are not debtors in these Cases and have not commenced chapter 11 cases.
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                        DEBTORS’ MOTION FOR ENTRY OF AN ORDER
                AUTHORIZING AND DIRECTING THE JOINT ADMINISTRATION OF
                RELATED CHAPTER 11 CASES FOR PROCEDURAL PURPOSES ONLY

                Open Road Films, LLC (“Open Road Films”), Open Road Releasing, LLC (“Open Road

         Releasing, LLC”), OR Productions LLC (“OR Productions”), Briarcliff LLC (“Briarcliff”), Open

         Road International LLC (“Open Road International”), and Empire Productions LLC (“Empire

         Productions”), the debtors and debtors in possession (the “Debtors”) in the above-captioned

         chapter 11 cases (the “Cases”), hereby move the Court (the “Motion”) for entry of an order,

         substantially in the form attached hereto as Exhibit A (the “Proposed Order”), pursuant to

         section 105(a) of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy

         Code”), Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

         and Rule 1015-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States

         Bankruptcy Court for the District of Delaware (the “Local Rules”), authorizing and directing the

         joint administration of the Debtors’ related chapter 11 Cases for procedural purposes only. In

         support of the Motion, the Debtors rely on the Declaration of Amir Agam in Support of First Day

         Motions (the “First Day Declaration”) filed substantially concurrently herewith. In further

         support of the Motion, the Debtors respectfully represent as follows:

                                               I. JURISDICTION

                1.      The United States Bankruptcy Court for the District of Delaware (the “Court”)

         has jurisdiction over these Cases and the Motion pursuant to 28 U.S.C. §§ 157 and 1334, and the

         Amended Standing Order of Reference from the United States District Court for the District of

         Delaware dated as of February 29, 2012. This is a core proceeding within the meaning of

         28 U.S.C. § 157(b)(2). Venue of these Cases and the Motion in this district is proper under

         28 U.S.C. §§ 1408 and 1409.


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                2.      Pursuant to Rule 9013-1(f) of the Local Rules, the Debtors consent to the Court’s

         entry of a final judgment or order with respect to the Motion if it is determined that the Court,

         absent consent of the parties, cannot enter final orders or judgments consistent with Article III of

         the United States Constitution.

                3.      The statutory and legal predicates for the relief requested herein are section 105(a)

         of the Bankruptcy Code, Bankruptcy Rule 1015, and Local Rule 1015-1.

                                                II. BACKGROUND

                4.      On the date hereof (the “Petition Date”), each of the Debtors commenced a

         voluntary case under chapter 11 of the Bankruptcy Code.

                5.      The Debtors are authorized to continue to operate their business and manage their

         property as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         No trustee or examiner has been requested or appointed in the Cases and no statutory committee

         has been appointed yet by the Office of the United States Trustee for the District of Delaware

         (the “U.S. Trustee”).

                6.      The Debtors distribute motion pictures in the United States and license motion

         pictures in ancillary markets, principally to home entertainment, pay television, subscription, and

         transactional video-on-demand, free television, and other non-theatrical entertainment

         distribution markets. The Debtors’ films have generated approximately $1.3 billion in

         worldwide theatrical box office receipts, have been nominated for 49 Academy Awards, and

         have won 13 Academy Awards.

                7.      The Debtors intend to utilize the bankruptcy process to continue and conclude

         their robust marketing and sale process. They believe that doing so will ensure that the value of

         their assets are maximized for the benefit of all stakeholders.


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                    8.       The detailed factual background relating to the Debtors and the commencement of

         these Cases is set forth in the First Day Declaration.

                                                    III. RELIEF REQUESTED

                    9.       By this Motion, the Debtors seek entry of the Proposed Order authorizing and

         directing the joint administration of their Cases for procedural purposes only. The Debtors also

         request that the caption of their Cases be modified to reflect their joint administration as follows:

                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF DELAWARE


         In re                                                            Chapter 11

         OPEN ROAD FILMS, LLC, a Delaware                                 Case No.: 18-12012 (___)
         limited liability company, et al.,1
                                                                          (Jointly Administered)
                                       Debtors.


         1
                The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
                (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
                LLC (9375-Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.

                    10.      In addition, the Debtors request that the Court establish a joint docket and file for

         these Cases, and direct the Clerk of the Court (the “Clerk”) to make a notation substantially

         similar to the following on the docket of each Debtor:


                             An order has been entered in this case directing the joint
                             administration of the chapter 11 cases of Open Road Films, LLC,
                             Open Road Releasing, LLC, OR Productions LLC, Briarcliff LLC,
                             Open Road International LLC, and Empire Productions, LLC. The
                             docket in the chapter 11 case of Open Road Films, LLC, Case No.
                             18-12012 (___), should be consulted for all matters affecting this
                             case.

                    11.      Finally, the Debtors request that the Court permit use of a combined service list

         and combined notices.

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                                             IV. BASIS FOR RELIEF

                 12.    Bankruptcy Rule 1015(b) provides that if two or more petitions are pending in the

         same court by or against a debtor and an affiliate, joint administration is permissible. Fed. R.

         Bankr. P. 1015(b). Additionally, Local Rule 1015-1 permits entry of such an order without

         notice or a hearing if the Debtors demonstrate that such treatment is warranted.

                 13.    Bankruptcy Rule 1015 promotes the efficient and economical administration of

         affiliated debtors’ related cases, while also ensuring that individual creditors’ rights are not

         unduly prejudiced. In re Brookhollow Assocs., 435 F. Supp. 763, 766 (D. Mass. 1977) (joint

         administration “help[s] the bankruptcy court to administer economically and efficiently different

         estates with substantial interests in common”), aff’d, 575 F.2d 1003 (1st Cir. 1978); In re

         Parkway Calabasas, Ltd., 89 B.R. 832, 836 (Bankr. C.D. Cal. 1988) (“The purpose of joint

         administration is to make case administration easier and less expensive than in separate cases,

         without affecting the substantive rights of creditors ….”). As stated in the Official Committee

         Note to Bankruptcy Rule 1015, joint administration expedites cases and reduces their overall

         cost:

                        Joint administration as distinguished from consolidation may
                        include combining the estates by using a single docket for the
                        matters occurring in the administration, including the listing of
                        filed claims, the combining of notices to creditors of the different
                        estates, and the joint handling of other purely administrative
                        matters that may aid in expediting the cases and rendering the
                        process less costly.


         Fed. R. Bankr. P. 1015 (Committee Note, ¶ 4).

                 14.    Joint administration is warranted in these Cases because (i) the Debtors’ financial

         affairs and business operations are closely related and (ii) joint administration will ease the

         administrative burden on the Court and other parties in interest.


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                 15.     The Debtors are affiliated entities. Debtor Open Road Films is a wholly-owned

         subsidiary of Debtor Open Road Releasing. In turn, Debtors OR Productions, Briarcliff, and

         Open Road International are wholly-owned subsidiaries of Open Road Films. Finally, Debtor

         Empire Productions is a wholly-owned subsidiary of OR Productions. Joint administration will

         prevent duplicative efforts and unnecessary expenses, without any risk of prejudice to creditors,

         because the relief sought herein does not seek to consolidate the Debtors’ estates for substantive

         purposes.

                 16.     With six affiliated debtors, each with its own case docket, administering these

         Cases separately would result in duplicative pleadings, notices, orders, and other documents filed

         and served upon separate service lists. This unnecessary duplication would be costly and unduly

         burdensome for the estates and would not create any counterbalancing benefit for creditors.

                 17.     Separate administration would also tax the estates’ administration, diverting

         valuable resources away from substantive issues. In contrast, joint administration will permit the

         Clerk to use a single docket—that of Open Road Films—for all of the Cases and to combine

         notices to creditors and other parties in interest of the Debtors’ respective estates, eliminating the

         confusion and waste that would be caused by separate administration.

                 18.     Finally, separate administration of these Cases would likely confuse creditors. By

         jointly administering the estates, creditors and other parties in interest will receive notice of all

         matters involving all of the entities that are required to be served on such parties, thereby

         ensuring that creditors and other parties in interest are fully informed of all matters potentially

         affecting their rights. The Debtors request that the official caption to be used by all parties in all

         court filings in the jointly administered Cases be in the form set forth in paragraph 9 of this




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         Motion. The Debtors submit that use of the simplified caption for all court filings will eliminate

         cumbersome and confusing procedures and ensure a uniformity of court filing identification.

                19.     The relief requested herein is purely procedural and does not effectuate

         substantive consolidation of the Debtors’ estates. Thus, there will be no material prejudice to

         creditors or other parties in interest if these Cases are jointly administered. Indeed, the interests

         of all creditors will be served by the reduction in costs and administrative burdens resulting from

         joint administration.

                                                     V. NOTICE

                20.     The Debtors will provide notice of this Motion to: (i) the U.S. Trustee; (ii) holders

         of the forty (40) largest unsecured claims on a consolidated basis against the Debtors; (iii) the

         Agent (as defined in the First Day Declaration); (iv) the Office of the United States Attorney for

         the District of Delaware; (v) the Internal Revenue Service; and (vi) all parties who have filed a

         notice of appearance and request for service of papers pursuant to Bankruptcy Rule 2002. As

         this Motion is seeking “first day” relief, within two business days of the hearing on this Motion,

         the Debtors will serve copies of this Motion and any order entered in respect to this Motion as

         required by Local Rule 9013-1(m). In light of the nature of the relief requested herein, the

         Debtors submit that no other or further notice is necessary.



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                                                VI. CONCLUSION

                WHEREFORE, for the reasons set forth herein and in the First Day Declaration, the

         Debtors respectfully request that this Court enter the Proposed Order, granting the relief

         requested in the Motion and such other and further relief as is just and proper.

         Dated: September 6, 2018                          /s/ Robert F. Poppiti, Jr.
                                                           Michael R. Nestor, Esq. (Bar No. 3526)
                                                           Sean M. Beach, Esq. (Bar No. 4070)
                                                           Robert F. Poppiti, Jr., Esq. (Bar No. 5052)
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                                                           Fax: (302) 571-1253

                                                           and

                                                           Michael L. Tuchin, Esq.
                                                           Jonathan M. Weiss, Esq.
                                                           Sasha M. Gurvitz, Esq.
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                                                           1999 Avenue of the Stars, 39th Floor
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                                                           Fax: (310) 407-9090

                                                           Proposed Counsel to Debtors and
                                                           Debtors in Possession




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                                   EXHIBIT A

                                 Proposed Order




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                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF DELAWARE


         In re                                                            Chapter 11

         Open Road Films, LLC,                                            Case No.: 18-12012 (___)

                                       Debtor. 1

         In re                                                            Chapter 11

         Open Road Releasing, LLC,                                        Case No.: 18-12013 (___)

                                       Debtor.

         In re                                                            Chapter 11

         OR Productions LLC,                                              Case No.: 18-12014 (___)

                                       Debtor.

         In re                                                            Chapter 11

         Briarcliff LLC,                                                  Case No.: 18-12015 (___)

                                       Debtor.

         In re                                                            Chapter 11

         Open Road International LLC,                                     Case No.: 18-12016 (___)

                                       Debtor.

         In re                                                            Chapter 11

         Empire Productions LLC,                                          Case No.: 18-12017 (___)

                                       Debtor.
                                                                          Ref. Docket No. ____



         1
                The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
                (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
                LLC (9375-Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.
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                ORDER AUTHORIZING AND DIRECTING THE JOINT ADMINISTRATION OF
                  RELATED CHAPTER 11 CASES FOR PROCEDURAL PURPOSES ONLY

                    Upon the motion (the “Motion”)2 of Open Road Films, LLC and its affiliated debtors and

         debtors in possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Cases”) for

         entry of an order, pursuant to section 105(a) of title 11 of the United States Code, 11 U.S.C.

         § 101 et seq. (the “Bankruptcy Code”), Rule 1015(b) of the Federal Rules of Bankruptcy

         Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Local Rules of Bankruptcy Practice

         and Procedure of the United States Bankruptcy Court for the District of Delaware (“Local

         Rules”), authorizing and directing the joint administration of the Debtors’ related chapter 11

         Cases for procedural purposes only; and upon consideration of the First Day Declaration and the

         record of these Cases; and it appearing that the Court has jurisdiction to consider the Motion

         pursuant to 28 U.S.C. §§ 1334 and 157, and the Amended Standing Order of Reference from the

         United States District Court for the District of Delaware dated February 29, 2012; and it

         appearing that the Motion is a core matter pursuant to 28 U.S.C. § 157(b)(2) and that the Court

         may enter a final order consistent with Article III of the United States Constitution; and it

         appearing that venue of these Cases and of the Motion is proper pursuant to 28 U.S.C. §§ 1408

         and 1409; and it appearing that due and adequate notice of the Motion has been given under the

         circumstances, and that no other or further notice need be given; and it appearing that the relief

         requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and other

         parties in interest; and after due deliberation, and good and sufficient cause appearing therefor, it

         is hereby

                    ORDERED, ADJUDGED, AND DECREED THAT:

                    1.       The Motion is GRANTED, as set forth herein.

         2
                Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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                    2.       The Cases are hereby consolidated, for procedural purposes only, and shall be

         jointly administered by this Court. Nothing contained in this Order shall be deemed or construed

         as directing or otherwise effecting a substantive consolidation of the estates of the Debtors.

                    3.       The caption of the jointly administered Cases shall read as follows:

                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF DELAWARE


         In re                                                            Chapter 11

         OPEN ROAD FILMS, LLC, a Delaware                                 Case No.: 18-12012 (___)
         limited liability company, et al.,1
                                                                          (Jointly Administered)
                                       Debtors.


         1
                The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                Open Road Films, LLC (4435 Del.); Open Road Releasing, LLC (4736 Del.); OR Productions LLC (5873
                Del.); Briarcliff LLC (7304 Del.); Open Road International LLC (4109 Del.); and Empire Productions LLC
                (9375 Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.

                    4.       The foregoing caption shall satisfy the requirements of section 342(c)(1) of the

         Bankruptcy Code.

                    5.       All original court filings shall be captioned as set forth immediately above, and all

         original docket entries shall be made in the case of Open Road Films, LLC, Case No. 18-12012

         (___).

                    6.       The Clerk of this Court shall make a notation substantially similar to the

         following on the docket of each Debtor:

                             An order has been entered in this case directing the joint
                             administration of the chapter 11 cases of Open Road Films, LLC,
                             Open Road Releasing, LLC, OR Productions LLC, Briarcliff LLC,
                             Open Road International LLC, and Empire Productions, LLC. The
                             docket in the chapter 11 case of Open Road Films, LLC, Case No.
                             18-12012 (___), should be consulted for all matters affecting this
                             case.


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                  7.    The Clerk of the Court shall maintain a single docket and file under the case

         number assigned to Open Road Films, LLC, which shall be the docket and file for all of the

         Cases.

                  8.    This Order shall be without prejudice to the rights of the Debtors to seek entry of

         an order substantively consolidating the Debtors’ respective estates.

                  9.    The Court retains jurisdiction and power with respect to all matters arising from

         or related to the implementation or interpretation of this Order.



         Dated: Wilmington, Delaware
                ____________, 2018
                                                       _____________________________________
                                                       Honorable
                                                       United States Bankruptcy Judge




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